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                        UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF OHIO
                              EASTERN DIVISION


UNITED STATES OF AMERICA,                   )        CASE NO. 1:11CR12-26
                                            )
                       PLAINTIFF,           )        JUDGE SARA LIOI
                                            )
vs.                                         )
                                            )        ORDER ON VIOLATION OF
                                            )        CONDITIONS OF SUPERVISED
                                            )        RELEASE
STETSON WHITE,                              )
                                            )
                      DEFENDANT.            )


       A violation report was filed in this case on October 30, 2017. The Court referred

this matter to Magistrate Judge Jonathan D. Greenberg to conduct appropriate

proceedings and to file a report and recommendation. The magistrate judge reported that

a supervised release violation hearing was held on November 20, 2017 wherein the

defendant admitted to the following violations:

       1.      New Law Conviction;
       2.      Failure to Report to Probation Office as Directed.


       The Magistrate Judge filed a report and recommendation on November 20, 2017,

in which the magistrate judge recommended that the Court find that the defendant has

violated the conditions of his supervised release.

       A final supervised release violation hearing was conducted on December 8, 2017.

Defendant Stetson White was present and represented by Attorney Thomas Conway. The

United States was represented by Assistant United States Attorney Joseph Pinjuh. United
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States Probation Officer Valencia Small was also present.

        No objections were filed to the report and recommendation of the magistrate

judge. Upon review, the Court adopts the report and recommendation of the magistrate

judge and finds the defendant to be in violation of his terms and conditions of his

supervised release.

       IT IS ORDERED that the defendant's term of supervised release is revoked and

the defendant is sentenced to the custody of the Bureau of Prisons for a term of thirty-six

(36) months, to run consecutive to defendant's undischarged sentence in Cuyahoga

County Common Pleas Court Case Number CR-17-613005. The Court recommends that

the defendant be placed at FCI Elkton and that the defendant participate in any trades

programs offered at the designated facility.

       No term of supervised release shall follow.

       Defendant is remanded to the custody of the United States Marshal.

       IT IS SO ORDERED.



Dated: December 8, 2017
                                                   HONORABLE SARA LIOI
                                                   UNITED STATES DISTRICT JUDGE




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